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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                              CASE NO.: 1:04-CR-010-SPM


EVERETT YOUNG,

     Defendant.
__________________________________/

                     ORDER RESETTING RESTITUTION HEARING

        THIS CAUSE comes before the Court upon “Defendant’s Unopposed

Motion to Continue Restitution Hearing” (doc. 80) filed November 9, 2005, in

which defense counsel explains that Defendant has just started a new

commission-based job and has not yet established a monthly average from

which an appropriate restitution amount could be calculated. Counsel requests a

90-day continuance in order to permit Defendant to establish such average.

        The Government is unopposed to the granting of the motion. Accordingly,

it is

        ORDERED AND ADJUDGED as follows:

        1.     The motion to continue (doc. 455) is hereby granted.
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       2.   The restitution hearing is reset for Monday, February 13, 2006 at

            1:30pm at the United States Courthouse in Gainesville, Florida.

       DONE AND ORDERED this ninth day of November, 2005.


                                  s/ Stephan P. Mickle
                                Stephan P. Mickle
                                United States District Judge
/pao
